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12
                                UNITED STATES DISTRICT COURT
13

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                     SAN FRANCISCO DIVISION

16   INTEL CORPORATION, APPLE INC.,
17                                   Plaintiffs,     Case No. 3:19-cv-07651-EMC

18          v.
                                                     PLAINTIFFS’ RESPONSE TO
19   FORTRESS INVESTMENT GROUP LLC,                  STATEMENT OF INTEREST OF THE
     FORTRESS CREDIT CO. LLC, UNILOC 2017            UNITED STATES
20   LLC, UNILOC USA, INC., UNILOC
21   LUXEMBOURG S.A.R.L., VLSI
     TECHNOLOGY LLC, INVT SPE LLC,                   Judge: Hon. Edward M. Chen
22   INVENTERGY GLOBAL, INC., DSS                    Date: June 18, 2020
     TECHNOLOGY MANAGEMENT, INC., IXI
23   IP, LLC, and SEVEN NETWORKS, LLC,               Time: 1:30 p.m.
24
                                     Defendants.
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 1   I.       INTRODUCTION

 2            Plaintiffs respectfully submit this response to the Statement of Interest of the United

 3   States (the “Statement”). The Statement largely echoes Defendants’ Motion to Dismiss, to

 4   which Plaintiffs respond in detail in their Opposition Memoranda. The Statement is the latest in

 5   the Justice Department’s (the “Department”) expanded amicus program through which the

 6   Department increasingly files amicus briefs in district courts, courts of appeals, and the Supreme

 7   Court. 1 It is also the latest example of the Department opposing private antitrust actions having

 8   some connection to intellectual property. 2 The Department’s opposition here, however,

 9   advocates a position that contradicts what the Department has advocated previously.

10   Specifically, the Statement’s position that market definition is required for Section 7 claims—yet

11   not for Section 1 claims—is the opposite of the Department’s prior position on that issue. The

12   Statement also reflects an internal inconsistency. Namely, the Statement’s argument that the

13   conduct Plaintiffs challenge is cognizable only under Section 2 of the Sherman Act ignores a

14   distinction—that Plaintiffs challenge the aggregation of patents, not the assertion of patents—

15   that the Department itself recognizes in the Statement’s Noerr-Pennington discussion. For the

16   reasons in Plaintiffs’ Opposition Memoranda and here, the Court should reject the Department’s

17   arguments in support of Defendants’ motion to dismiss.

18   II.      ARGUMENT

19            The Department’s argument that market definition is required for Section 7 claims—yet

20   not for Section 1 claims—contradicts the Department’s previously held position on the issue.

21

22   1 See Antitrust Division Update Spring 2019, U.S. Dep’t of Justice,
23   https://www.justice.gov/atr/division-operations/division-update-spring-2019/antitrust-division-s-
     competition-advocacy (last updated Mar. 28, 2019).
24   2 See, e.g., Motion for Leave to File Statement of Interest, Con’t Auto. Sys., Inc. v. Avanci, LLC,

     No. 3:19-CV-02933-M (N.D. Tex. Feb. 27, 2020); Statement of Interest of the United States;
25   Lenovo (United States) Inc. v. IPCOM GMBH & CO., KG, No. 5:19-CV-01389-EJD (N.D. Cal.
26   Oct. 25, 2019); Notice of Intent to File a Statement of Interest of the United States of America,
     U-Blox AG v. Interdigital, Inc., No. 3:19-CV-0001-CAB (BLM) (S.D. Cal. Jan. 11, 2019).
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 1   See Statement at 5-7 & 6 n.5. 3 The Department explained to a court in this District that

 2   “[m]arket definition and market share are . . . not a necessary predicate to antitrust liability under

 3   Section 1 of the Sherman Act,” and “[t]he rule should be no different under Section 7 of the

 4   Clayton Act.” Plaintiffs’ Trial Brief at 8, United States v. Oracle Corp., No. 3:04-CV-00807-

 5   VRW (N.D. Cal. June 1, 2004). The Department pointed out that “[b]ecause Section 7 deals

 6   with likely future effects of a transaction (‘may substantially lessen’), rather than with current

 7   effects of challenged conduct, it is often necessary to infer those effects from market structure.”

 8   Id. But “[i]n merger analysis, the ultimate question is always about the creation or enhancement

 9   of market power.” Id.; see also Plaintiffs’ Response to Defendant’s Partial Motion to Dismiss

10   Or, In the Alternative, for a More Definite Statement at 4, United States v. Dean Foods Co., No.

11   2:10-CV-00059-JPS (E.D. Wis. Mar. 11, 2010) (explaining in a Section 7 case that “[m]arket

12   definition is not a jurisdictional prerequisite, or an issue having its own significance under the

13   statute; it is merely an aid for determining whether [market] power exists.” (quoting Gen. Indus.

14   Corp. v. Hartz Mountain Corp., 810 F.2d 795, 805 (8th Cir. 1987))).

15           The Department’s position in this matter also conflicts with its current public guidance on

16   mergers. According to the Department’s and the Federal Trade Commission’s Horizontal

17   Merger Guidelines, merger analysis “need not start with market definition. Some of the

18   analytical tools used by the Agencies to assess competitive effects do not rely on market

19   definition, although evaluation of competitive alternatives available to customers is always

20   necessary at some point in the analysis.” See U.S. Dep’t of Justice & Fed. Trade Comm’n,

21   Horizontal Merger Guidelines § 4 (2010). “[M]arket definition allows the Agencies to identify

22   market participants and measure market shares and market concentration.” Id. Yet “[t]he

23   measurement of market shares and market concentration is not an end in itself, but is useful to

24   the extent it illuminates the merger’s likely competitive effects.” Id.

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26   3In any event, as explained in their Memorandum of Points and Authorities in Opposition to
27   Defendants’ Joint Motion to Dismiss, Plaintiffs have sufficiently alleged the Electronics Patents
     Market. See Plaintiffs’ Mem. at 21.
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 1           The Statement’s inconsistency is not limited to the Department’s Section 7 argument.

 2   The Statement is internally inconsistent in its argument that the conduct Plaintiffs challenge is

 3   cognizable only under Section 2 of the Sherman Act rather than under Section 1 or Section 7.

 4   See Statement at 16-17. This conclusion relies on a faulty premise—that Plaintiffs challenge

 5   “Fortress’s unilateral action (namely, the alleged prodigious litigation activity it carried out or

 6   directed) following the aggregation of the patents.” Id. But as the Complaint makes clear, the

 7   conduct Plaintiffs challenge is not “prodigious litigation activity” but rather Defendants’

 8   aggregation of patents. See, e.g., Compl. ¶¶ 35-50 (describing the anticompetitive effects of

 9   Defendants’ patent aggregation).

10           The Department itself recognizes this distinction—between unlawful patent aggregation

11   and subsequent litigation to profit from that aggregation—when it explains elsewhere in the

12   Statement that Noerr-Pennington immunity should not apply here. See Statement at 18-19.

13   “[E]ven if wholly post-acquisition conduct (such as litigation) is protected by the Noerr-

14   Pennington doctrine, the doctrine does not bar liability where the acquisition itself of patents

15   lessens competition.” Id. at 18 (footnote omitted). Harming competition through patent

16   acquisitions, the Department points out, “remains subject to the antitrust laws even if there is

17   subsequent litigation to enforce the patents.” Id. at 19. It is precisely that distinction that makes

18   clear why Plaintiffs’ claims are cognizable under Section 1 and Section 7: Plaintiffs challenge

19   Defendants’ agreements that aggregate patents, not “unilateral action . . . following the

20   aggregation of patents.” 4 Id. at 16.

21   III.    CONCLUSION

22           The Court should reject the Department’s arguments in support of Defendants’ motion to
23   dismiss.
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26   4That some aspects of Fortress’s conduct may also be actionable as unilateral conduct does not
27   mean that properly pleaded violations of Section 1 or Section 7 should not be allowed to
     proceed.
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 1   DATED: April 13, 2020                  Respectfully submitted,

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